                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )      No. 3:09-cr-00047-1
                                              )      Chief Judge Waverly D. Crenshaw, Jr.
ADRIAN DEWAYNE PATTERSON                      )

 UNITED STATES’ RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR
                     COMPASSIONATE RELEASE

       The United States of America, by and through undersigned counsel, respectfully submits

this response in opposition to Defendant Adrian Dewayne Patterson’s Motion for Compassionate

Release. (Motion, DE 650, Page ID#7654). The defendant contends that he can establish

extraordinary and compelling reasons for his early release because a change in law—here,

Congress’s nonretroactive amendments to 21 U.S.C. § 841(b)’s recidivist enhancement in the First

Step Act of 2018—has produced a gross disparity between his “unusually long” mandatory life

sentence and the sentence a court would likely impose on him today, that, in the alternative, “other

reasons” also establish extraordinary and compelling reasons for release, and that the 18 U.S.C.

§ 3553(a) factors weigh in favor of his release. (Id.); U.S.S.G. § 1B1.13(b)(5-6). Patterson’s

motion is unavailing for several reasons.

       As this Court noted in denying Patterson’s previous motion for compassionate release,

Patterson is not entitled to early release because “Nonretroactive legal developments do not factor

into the extraordinary and compelling legal analysis. Full stop.” (Order, DE 645, PageID# 7569)

(quoting United States v. McCall, 56 F.4th 1048, 1050 (6th Cir. 2022) (en banc)). The fact that

the Sentencing Commission has, in the aftermath of McCall, defined “extraordinary and

compelling reasons” in § 3582(c)(1)(A) to include nonretroactive legal changes does not change

the outcome. That is because the Commission exceeded the bounds of its delegated authority in




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promulgating an amendment that conflicts with the Sixth Circuit’s interpretation of § 3582(c)(1)’s

plain language. Cf. Cable & Telecomm. Ass’n v. Brand X Internet Servs., 545 U.S. 967, 984

(2005) (“[A] precedent holding a statute to be unambiguous forecloses a contrary agency

construction.”). Accordingly, Patterson cannot establish extraordinary and compelling reasons for

release.

       And even if he could make such a showing, Patterson remains a danger to the community,

U.S.S.G. § 1B1.13(a)(2), and the 18 U.S.C. § 3553(a) factors do not weigh in favor of his release.

Patterson conspired to distribute at five kilograms or more of cocaine as part of a large drug

conspiracy, and he qualified as a Career Offender pursuant to U.S.S.G. § 4B1.1 (Jury Verdict, DE

264; PSR, ¶¶ 10, 37). As such, the United States respectfully submits that the defendant’s motion

should be denied.

                                        BACKGROUND

       A. The Defendant’s Underlying Criminal Case

           1. The Defendant’s Criminal Conduct

       The defendant’s case arises out of a large drug conspiracy in Montgomery County,

Tennessee, which involved the possession and distribution of more than 150 kilograms of cocaine.

(PSR, ¶ 11). Between January 1, 2004, and December 1, 2006, the defendant, John Banks, and

others paid for multiple kilograms of cocaine and arranged for the transportation of that cocaine to

Clarksville, Tennessee, by other conspirators such as Herman Majors and Cleo Patterson. (Id.)

The defendant paid those who transported the drugs and drug proceeds with case and/or quantities

of cocaine. (Id.) During the conspiracy, cocaine and cash were transported in vehicles with

sophisticated hidden compartments. (Id.) All of these vehicles were controlled by the defendant,

and the hidden compartments were built by a person associated with Bassim Fardos. (PSR, ¶ 11).



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The defendant and Bassim Fardos split the expenses for having these compartments built. (Id.)

       Once the kilograms of cocaine arrived in the Clarksville area, coconspirators distributed

that cocaine; however, some of the cocaine was first cooked into crack cocaine before being

distributed. (PSR, ¶ 12). Portions of the cash gathered from selling the cocaine and crack cocaine

were then reinvested into obtaining more cocaine. (Id.)

            2. The Defendant Is Convicted at Trial and Sentenced to a Mandatory Life Sentence

               on Count One.


       In 2009, the defendant and his co-conspirators were charged with conspiracy to distribute

and possess with intent to distribute 5 kilograms grams or more of cocaine, in violation of 21

U.S.C. § 846. (Complaint, DE 1, PageID# 3-4; Indictment, DE 9, Page ID# 12-14). On September

21, 2011, a federal grand jury handed down a Superseding Indictment. (Superseding Indictment,

DE 192, Page ID# 697-701). Prior to trial, the United States also filed a 21 U.S.C. § 851

Information alleging that the defendant had previously been convicted of two felony drug offenses.

(First 851 Information, DE 171, Page ID# 647-48; Second 851 Information, DE 242, Page ID#

1149-50.)

       Following the Superseding Indictment, the defendant filed a motion to sever Counts Two

through Five. (Motion to Sever Counts, DE 215, PageID# 785-88.) On February 6, 2012, the court

granted the defendant’s motion to sever Counts Two through Five. (Order, DE 241, PageID#

1146-48.)

       As a result, the defendant was subject to mandatory term of life imprisonment on Count

One when his case proceeded to trial in February 2012. After a 11-day trial, the defendant was

convicted of conspiracy to possess with intent to distribute controlled substances (21 U.S.C. § 846)

as charged in the Superseding Indictment. (Redacted Jury Verdict, DE 264).

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        The defendant’s case proceeded to sentencing. (Sentencing Hearing Transcript, DE 342).

Prior to the sentencing hearing, the United States Probation Office prepared a Presentence

Investigation Report (“PSR”). (PSR, DE 311). As relevant here, the PSR recommended that the

defendant be assigned an Offense Level of 44 and a Criminal History Category of VI. (Id. at ¶¶ 37-

31, 47-48). The PSR likewise recommended that the defendant qualify as a Career Offender due

to two Tennessee “controlled substance offense” convictions. (Id. at ¶ 37). The defendant’s

Offense Level and Criminal History Category resulted in a guideline range of life imprisonment.

(Id. at ¶ 71).

        At his June 2012 sentencing hearing, the Court found that the defendant had two prior

felony drug convictions, which had been noticed under § 851, and so the defendant was subject to

a mandatory minimum life sentence. (Judgment, DE 302, Page ID# 1324-25; Second 851

Information, DE 242, Page ID# 1149-50). The Court then sentenced the defendant to life

imprisonment on Count One. (Id. Page ID# 1325). The Sixth Circuit rejected the defendant’s

direct appeal challenging his sentence and conviction. United States v. Patterson, 587 Fed.Appx.

878 (6th Cir. Oct. 15, 2014).

        After the Sixth Circuit Court of Appeals issued its decision and affirmed the judgment, the

defendant filed a petition to rehear and for rehearing en banc, which was denied. Thereafter, the

defendant filed a petition for writ of certiorari to the U.S. Supreme Court, which was denied.

(Petition for Writ of Certiorari, DE 403, PageID# 5611; Denial of Petition for Writ of Certiorari,

DE 406, PageID# 5615.)

        B. Post-Conviction Litigation

        In 2016, the defendant filed a pro se 28 U.S.C. § 2255 motion to vacate, set aside, or correct

his sentence, claiming (among other things) ineffective assistance of counsel, errors in the



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calculation of his criminal history, and improper removal of a juror. (Pro Se Motion to Vacate,

Case No. 3:16-cv-2623, Civ. DE 1, Page ID# 1). On February 12, 2017, the Court appointed the

Office of the Federal Public Defender to represent Patterson. (Order, Case No. 3:16-cv-2623, Civ.

DE 3, PageID# 41). On September 18, 2020, Patterson filed his first Amended Petition for Relief

under 18 U.S.C. § 2255. (First Amended Petition, Case No. 3:16-cv-2623, Civ. DE 62, PageID#

168). The defendant’s motion is still pending.

       The United States is aware Patterson submitted a clemency petition to President Biden, but

does not have any information regarding the status of this petition.

       C. The Defendant Moves for Compassionate Release.

       On January 28, 2021, the defendant submitted a pro se motion seeking a sentence reduction

to time served, which the Court received. (Pro Se Motion, DE 574). This Court appointed the

Federal Public Defender to review the defendant’s motion and file a supplemental brief, if the

Federal Public Defender believed the defendant might be entitled to relief. On March 3, 2021,

defense counsel filed a supplemental brief on the defendant’s behalf arguing that he should receive

a sentence reduction based upon the First Step Act’s changes to federal drug sentencing laws, the

disparity between his sentence and what was offered in a plea bargain, the defendant’s

rehabilitation, and his increased risk of severe illness from COVID-19. (Supplemental Motion, DE

581). The supplemental brief proposed the Court reduce the defendant’s mandatory life sentence

to a term of 17 years’ imprisonment. (Id. at 16).

       The United States responded in opposition, arguing that neither nonretroactive changes in

federal sentencing law nor his health conditions during the COVID-19 pandemic amounted to an

extraordinary and compelling reason for a sentence reduction. (Response in Opposition, DE 583,

PageID# 6696-6708).      This Court denied the defendant’s motion in an February 6, 2023



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memorandum opinion, holding that Sixth Circuit precedent required it to find that nonretroactive

changes to sentencing law and his medical conditions did not amount to extraordinary and

compelling reasons in support of a sentence reduction. (Memorandum and Order, DE 645, Page

I.D. #7565-69).

        D. The Sentencing Commission Amends U.S.S.G. § 1B1.13 and the Defendant Moves
           for Compassionate Release.

        On April 5, 2023, the Sentencing Commission voted to promulgate various amendments

to the federal sentencing guidelines, including to U.S.S.G. § 1B1.13. “Back in Business” U.S.

Sentencing Commission Acts to Make Communities Safer & Stronger, April 5, 2023,

https://www.ussc.gov/about/news/press-releases/april-5-2023. Relevant here (and as discussed in

more detail infra. at 14-16), the Commission promulgated U.S.S.G. § 1B1.13(b)(6), which

purports to allow a defendant to establish “extraordinary and compelling reasons” for early release

within the meaning of 18 U.S.C. § 3582(c)(1)(A) if he can show that he has served at least 10 years

of an “unusually long sentence,” and that there has been a change in law that would produce a

gross disparity between the sentence the defendant is serving and the sentence that would likely

be imposed today. The Commission’s amendments to U.S.S.G. § 1B1.13 went into effect on

November 1, 2023, and the defendant’s instant motion for compassionate release followed.

(Motion, DE 2085, Page I.D. #12031).



                                         ARGUMENT
   I.      Background of the Compassionate Release Statute, 18 U.S.C. § 3582(c)(1).

        A. Congress Passes the Sentencing Reform Act of 1984.

        The Sentencing Reform Act of 1984, Pub. L. No. 98-473, Tit. II, Ch. II, 98 Stat. 1987 (18

U.S.C. § 3551 et seq.), “overhaul[ed] federal sentencing practices.” Tapia v. United States, 564


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U.S. 319, 325 (2011).      To make prison terms more determinate, Congress established the

Sentencing Commission as an independent agency in the Judicial Branch and “authorized it to

promulgate Sentencing Guidelines and to issue policy statements.” Dillon v. United States, 560

U.S. 817, 820 (2010); see 28 U.S.C. §§ 991, 994(a). “The Commission was born of congressional

disenchantment with the vagaries of federal sentencing and of the parole system,” and Congress

directed the Commission to “eliminate unwarranted disparities in punishment of similar defendants

who commit similar crimes.” Neal v. United States, 516 U.S. 284, 290-91 (1996).

       Congress also abolished the practice of federal parole, specifying that a “court may not

modify a term of imprisonment once it has been imposed,” except in certain enumerated

circumstances. 18 U.S.C. § 3582(c); see Tapia, 564 U.S. at 325. One of those circumstances, set

forth in 18 U.S.C. § 3582(c)(1)(A) (and commonly referred to as “compassionate release”),

authorizes a court to “reduce [a] term of imprisonment . . . , after considering the factors set forth

in [18 U.S.C. §] 3553(a) to the extent that they are applicable, if it finds,” as relevant here, that

“extraordinary and compelling reasons warrant such a reduction” and that “such a reduction is

consistent with applicable policy statements issued by the Sentencing Commission.” As originally

enacted, Section 3582(c)(1)(A) authorized such reductions only “upon motion of the Director of

the Bureau of Prisons” (“BOP”). 1 Sentencing Reform Act § 212(a)(2), 98 Stat. 1998.



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  Under the system of federal parole, 18 U.S.C. § 4205(g) provided the Bureau of Prisons with
authority to move “[a]t any time” for the sentencing court to “reduce any minimum term [of
imprisonment] to the time the defendant has served.” 18 U.S.C. § 4205(g) (repealed). BOP
regulations explained that the Bureau generally used that authority “only in particularly
meritorious or unusual circumstances which could not reasonably have been foreseen by the court
at the time of sentencing,” including where “there is an extraordinary change in an inmate’s
personal or family situation or if an inmate becomes severely ill.” 45 Fed. Reg. 23,364, 23,366
(Apr. 4, 1980). As the Senate Report accompanying the Sentencing Reform Act explains, Section
3582(c)(1)(A) was intended to be “similar to the authority” afforded to the BOP under 18 U.S.C.
§ 4205(g). S. Rep. No. 98-225, at 121 n.298 (1983).

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        Congress directed the Sentencing Commission to promulgate “general policy statements

regarding . . . the appropriate use of . . . the sentence modification provisions set forth in [Section]

3582(c).” 28 U.S.C. § 994(a)(2)(C). Congress instructed the Commission, in promulgating policy

statements regarding Section 3582(c)(1)(A), to “describe what should be considered extraordinary

and compelling reasons for sentence reduction, including the criteria to be applied and a list of

specific examples.” 28 U.S.C. § 994(t). Congress likewise specified that “[r]ehabilitation of the

defendant alone shall not be considered an extraordinary and compelling reason.” Id.

        In 2006, the Commission promulgated the policy statement in § 1B1.13 of the Sentencing

Guidelines. As amended in 2016, the policy statement described four categories of reasons that

should be considered extraordinary and compelling: “Medical Condition of the Defendant,” “Age

of the Defendant,” “Family Circumstances,” and “Other Reasons” “determined by the Director of

the Bureau of Prisons” to be “extraordinary and compelling” “other than, or in combination with,”

the reasons described in the other three categories. Sentencing Guidelines App. C Supp., Amend.

799 (Nov. 1, 2016).

        B. Congress Passes the First Step Act of 2018.

        In the First Step Act of 2018, Congress amended Section 3582(c)(1)(A) to allow

defendants, as well as the BOP itself, to file motions for a sentence reduction. See Pub. L. No.

115-391, Tit. VI, § 603(b), 132 Stat. 5194, 5239. As modified, Section 3582(c)(1)(A) now states:

        the court, upon motion of the Director of the Bureau of Prisons, or upon motion of
        the defendant after the defendant has fully exhausted all administrative rights to
        appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s
        behalf or the lapse of 30 days from the receipt of such a request by the warden of
        the defendant’s facility, whichever is earlier, may reduce the term of imprisonment
        . . . , after considering the factors set forth in section 3553(a) to the extent that they
        are applicable, if it finds that . . . extraordinary and compelling reasons warrant such
        a reduction . . . and that such a reduction is consistent with applicable policy
        statements issued by the Sentencing Commission.



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18 U.S.C. § 3582(c)(1)(A) (emphasis added).

       Shortly after the First Step Act’s enactment, the Sentencing Commission lost a quorum of

voting members, and remained without a quorum for more than three years. See 88 Fed. Reg.

28,254, 28,256 (May 3, 2023). The Commission thus did not immediately amend the policy

statement to account for the First Step Act’s procedural change. In the intervening years, the Sixth

Circuit—and nearly every other federal court of appeals—held that the existing policy statement’s

description of what should be considered “extraordinary and compelling” reasons for a sentence

reduction was not applicable to defendant-filed motions. United States v. Elias, 984 F.3d 516, 520

(6th Cir. 2021) (“[W]e hold that § 1B1.13 is not an applicable policy statement for compassionate-

release motions brought directly by inmates, and so district courts need not consider it when ruling

on those motions.”); see also United States v. Ruvalcaba, 26 F.4th 14, 21 (1st Cir. 2022) (collecting

cases); but see United States v. Bryant, 996 F.3d 1243, 1262 (11th Cir. 2021).

       As a result, and in the absence of a binding policy statement, the federal courts of appeals

were obliged to construe the plain meaning of the phrase “extraordinary and compelling reasons”

as used in Section 3582(c)(1)(A)(i). The majority of circuits to consider the question—including

the Sixth Circuit—determined that a nonretroactive change in the law, whether considered alone

or in combination with other factors, cannot constitute an “extraordinary and compelling” reason

for a sentence reduction. United States v. McCall, 56 F.4th 1048, 1050 (6th Cir. 2022) (en banc)

(“Nonretroactive legal developments do not factor into the extraordinary and compelling analysis.

Full stop.”); See also United States v. Andrews, 12 F.4th 255, 261 (3d Cir. 2021); United States v.

Thacker, 4 F.4th 569, 571 (7th Cir. 2021); United States v. Crandall, 25 F.4th 582, 585-86 (8th

Cir. 2022); United States v. Jenkins, 50 F.4th 1185, 1198-1200 (D.C. Cir. 2022); United States v.

McMaryion, No. 21-50450, 2023 WL 4118015, at *2 (5th Cir. June 22, 2023) (per curiam)



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(unpublished). Four circuits, in contrast, have taken the view that a change in the law can form

part of an individualized assessment of whether to grant a sentence reduction, but only in

combination with other case-specific factors. Ruvalcaba, 26 F.4th at 28; United States v. McCoy,

981 F.3d 271, 286 (4th Cir. 2020); United States v. Chen, 48 F.4th 1092, 1097-98 (9th Cir. 2022);

United States v. McGee, 992 F.3d 1035, 1047-48 (10th Cir. 2021).

       C. The Sentencing Commission Regains a Quorum and Promulgates Amendments
          to U.S.S.G. § 1B1.13.

       In 2022, the Sentencing Commission regained a quorum, and after public notice and

comment, voted on April 5, 2023 to promulgate amendments to the Guidelines Manual, including

to Section 1B1.13’s policy statement. 88 Fed. Reg. 28,254, 28,254-28,281 (May 3, 2023); see also

Sentencing Commission Public Meeting Tr. 27-82 (Apr. 5, 2023) (“4/5/23 Tr.”).2                The

amendments to Section 1B1.13 render the policy statement applicable to defendant-filed motions.

As relevant here, the amendments also purport to allow, with certain limitations, consideration of

changes in law—including ones Congress has chosen not to make retroactive—when determining

whether a defendant has presented an extraordinary and compelling reason for a sentence

reduction. That change is reflected in new subsections (b)(6) and (c), which provide:

       (6) Unusually Long Sentence.—If a defendant received an unusually long sentence
       and has served at least 10 years of the term of imprisonment, a change in the law
       (other than an amendment to the Guidelines Manual that has not been made
       retroactive) may be considered in determining whether the defendant presents an
       extraordinary and compelling reason, but only where such change would produce
       a gross disparity between the sentence being served and the sentence likely to be
       imposed at the time the motion is filed, and after full consideration of the
       defendant’s individualized circumstances.

       (c) Limitation on Changes in Law.—Except as provided in subsection (b)(6), a
       change in the law (including an amendment to the Guidelines Manual that has not
       been made retroactive) shall not be considered for purposes of determining whether

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 https://www.ussc.gov/sites/default/files/pdf/amendment-process/public-hearings-and-
meetings/20230405/20230405_transcript.pdf.

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         an extraordinary and compelling reason exists under this policy statement.
         However, if a defendant otherwise establishes that extraordinary and compelling
         reasons warrant a sentence reduction under this policy statement, a change in the
         law (including an amendment to the Guidelines Manual that has not been made
         retroactive) may be considered for purposes of determining the extent of any such
         reduction.

88 Fed. Reg. at 28,255; see U.S.S.G. § 1B1.13(b)(6), (c).

         The Commission divided 4-3 on whether to promulgate the amendments to Section 1B1.13.

See 4/5/23 Tr. 81-82, available at https://www.ussc.gov/policymaking/meetings-hearings. The

dissenting Commissioners explained that, in their view, the policy statement “goes further than the

Commission’s legal authority extends,” and the Commission had made “a seismic structural

change to our criminal justice system without congressional authorization or directive.” Id. at 60

(Commissioner Wong, delivering joint statement). In particular, the Commission’s decision to

allow nonretroactive changes in law to establish a basis for a sentence reduction “supplants

Congress’s legislative role” and would authorize courts “to revisit duly imposed criminal sentences

at the ten-year mark based on intervening legal developments that Congress did not wish to make

retroactive.” Id. at 60-61. “The separation of powers problem” with that result, the dissenting

Commissioners explained, “should be apparent,” as “[i]t is not the Commission’s role to

countermand Congress’s legislative judgments.” Id. at 61.

         The Commission submitted its proposed Guidelines amendments to Congress on April 27,

2023. Because Congress did not act to modify or disapprove of the amendments, they became

effective on November 1, 2023. 88 Fed. Reg. at 28,254; see 28 U.S.C. § 994(p).

   II.      The Defendant Cannot Establish Extraordinary and Compelling Reasons for
            Release.
         Despite binding Sixth Circuit precedent to the contrary, the defendant argues that he can

establish an “extraordinary and compelling reason” for release because a change in law—here,

Congress’s nonretroactive amendments to 21 U.S.C. § 841(b)’s recidivist enhancement in the First

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Step Act of 2018—has produced a gross disparity between his “unusually long” mandatory life

sentence and the sentence a court would likely impose on him today, and because, in the

alternative, “other reasons” within the meaning of U.S.S.G. § 1B1.13(b)(5) establish grounds for

early release.     (Motion, DE 2085, Page I.D. #12031).          The defendant’s arguments remain

foreclosed by Sixth Circuit precedent, including the Court’s en banc decision in McCall, 56 F.4th

at 1050, and as explained in greater detail below, the Sentencing Commission’s subsequent

contrary interpretation of 18 U.S.C. § 3582(c)(1) does not change the analysis. 3

          A. The Sentencing Commission Exceeded Its Congressionally Delegated Authority in
             Promulgating Subsection (b)(6).

                 1. In Exercising Its Authority, the Commission Cannot Act Contrary to the
                    Statute.

          Congress directed the Sentencing Commission to “describe what should be considered

extraordinary and compelling reasons for [a] sentence reduction, including the criteria to be

applied and a list of specific examples.” 28 U.S.C. § 994(t). 4 Such a delegation of authority,



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    In McCall, the Sixth Circuit anticipated the precise issue this Court now confronts, noting that

           Whether the Commission could issue a new policy statement that describes
          “extraordinary and compelling reasons” in a way that is inconsistent with our
          interpretation of the statute’s language is a question that we need not resolve in the
          absence of an applicable statement. See Nat’l Cable & Telecomms. Ass’n v. Brand
          X Internet Servs., 545 U.S. 967, 982, 125 S.Ct. 2688, 162 L.Ed.2d 820 (2005).

56 F.4th at 1055 n.3.
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  The Supreme Court has granted certiorari in Loper Bright Enterprises v. Raimondo, No. 22-451,
to consider whether the Court’s decision in Chevron, U.S.A., Inc. v. NRDC, Inc., 467 U.S. 837
(1984), should be overruled. Because Chevron concerns the deference owed to an agency when
Congress has only implicitly delegated interpretive authority, Chevron, 467 U.S. at 844, the
Court’s resolution of Loper will not affect the deference due when Congress has expressly
identified a gap for an agency to fill. See United States v. Mead Corp., 533 U.S. 218, 228-29
(2001) (distinguishing among express and implicit delegation); see also Cuozzo Speed Techs., LLC
v. Lee, 579 U.S. 261, 286 (2016) (Thomas, J., concurring) (explaining that an “express and clear
conferral of authority” to an agency does not implicate Chevron).

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however, “is not unlimited.” Batterton v. Francis, 432 U.S. 416, 428 (1977). Even when reached

through an exercise of delegated authority, an agency’s interpretation of a statute must be set aside

if the agency’s interpretation is not “reasonable.” Mayo Found. for Med. Educ. & Research v.

United States, 562 U.S. 44, 58 (2011) (internal quotation marks omitted); see Batterton, 432 U.S.

at 428. An agency cannot adopt an impermissible reading of the statute—i.e., a reading that

exceeds the gap left by Congress. See Mayo Found., 562 U.S. at 53-58; Batterton, 432 U.S. at

428.

       The Sentencing Commission in particular “was not granted unbounded discretion,” and as

the Supreme Court has explained, “[b]road as” the Commission’s “discretion may be,” it “must

bow to the specific directives of Congress.” United States v. LaBonte, 520 U.S. 751, 753, 757

(1997); cf. Mistretta v. United States, 488 U.S. 361, 379 (1989) (reasoning that the discretion

vested in the Commission does not violate the nondelegation doctrine because the Sentencing

Reform Act “sets forth more than merely an ‘intelligible principle’ or minimal standards” to guide

that discretion). In the Sentencing Reform Act, itself, Congress directed the Commission to ensure

that its guidelines and policy statements remain “consistent with all pertinent provisions of any

Federal statute.” 28 U.S.C. § 994(a). And Congress authorized the Commission only to “make

recommendations to Congress concerning modification or enactment of statutes relating to

sentencing.” Id. § 995(a)(20) (emphasis added).

               2. Subsection (b)(6) Conflicts With § 3582(c)(1)(A)’s Plain Text, Context, and
                  Purpose—As the Sixth Circuit Has Held.

       Section 3582(c)(1)(A) provides an “except[ion]” to the overarching principle of federal

sentencing law that a “federal court generally ‘may not modify a term of imprisonment once it has

been imposed.’” Dillon, 560 U.S. at 819 (quoting 18 U.S.C. § 3582(c)). Congress plainly

instructed that any reason sufficient to overcome that general principle must be “extraordinary and

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compelling.” 18 U.S.C. § 3582(c)(1)(A)(i). No reasonable interpretation of that phrase’s text,

particularly when considered in light of the statute’s structure and purpose, can encompass

nonretroactive or intervening changes in law. The Sixth Circuit, along with five of its sister

circuits, has already held as much, determining that Section 3582(c)(1)(A)(i)’s clear meaning

excludes intervening developments in sentencing law from constituting “extraordinary and

compelling” reasons for a sentence reduction, whether considered alone or in connection with

other factors and circumstances. McCall, 56 F.4th at 1050; see also Andrews, 12 F.4th at 261;

Thacker, 4 F.4th at 571; Crandall, 25 F.4th at 585-86; Jenkins, 50 F.4th at 1198-1200; McMaryion,

2023 WL 4118015, at *2. The Commission’s interpretation of the statute as set forth in subsection

(b)(6) is unreasonable and therefore invalid. Mayo Found., 562 U.S. at 58; see LaBonte, 520 U.S.

at 753 (invalidating Guidelines amendment where “the Commission’s interpretation is inconsistent

with [the statute’s] plain language”).

       a. The Commission Does Not Have the Authority to Override the Sixth Circuit’s

Interpretation of “extraordinary and compelling” in § 3582(c)(1)(A). In McCall, the Sixth

Circuit, sitting en banc, held that “[n]onretroactive legal developments, considered alone or

together with other factors, cannot amount to an ‘extraordinary and compelling reason’ for a

sentence reduction.” 56 F.4th at 1065-66. Because it did not consider there to be a then-applicable

policy statement, the McCall Court directly interpreted the statutory phrase “extraordinary and

compelling” reasons. Id. at 1054-55.

       “[T]he Commission does not have the authority to amend the statute” or “to override the

statute as [the full Sixth Circuit] has construed it.” 5 Neal, 516 U.S. at 290, 294; see United States



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  Because the McCall Court never suggested that Section 3582(c)(1)(A)(i)’s text is ambiguous, it
also is unnecessary for this Court to “decide what, if any, deference [would be] owed the
Commission in order to reject its alleged contrary interpretation.” Neal, 516 U.S. at 295; see also
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v. Koons, 850 F.3d 973, 979 (8th Cir. 2017) (Sentencing Commission cannot “overrule circuit

precedent interpreting a statutory provision”) (quoting United States v. Williams, 808 F.3d 253,

266 (4th Cir. 2015) (Traxler, C.J., dissenting))). The Sixth Circuit’s determination in McCall

therefore remains binding on this Court, and the Commission’s amendments to § 1B1.13 does not

authorize the reconsideration of that precedent because “a precedent holding a statute to be

unambiguous forecloses a contrary agency construction.” Nat’l Cable & Telecomm. Ass’n v.

Brand X Internet Servs., 545 U.S. 967, 984 (2005); see Lechmere, Inc. v. NLRB, 502 U.S. 527,

536-37 (1992) (“Once we have determined a statute’s clear meaning, we adhere to that

determination under the doctrine of stare decisis, and we judge an agency’s later interpretation of

the statute against our prior determination of the statute’s meaning.” (internal quotation marks

omitted)).

       This conclusion comports with applicable Supreme Court precedent, rejecting the

Sentencing Commission’s purported interpretation of a statute that was inconsistent with plain

statutory language—including language the Court had previously authoritatively construed. In

Neal, for example, the Court held that Guidelines commentary addressing the method for

calculating the weight of LSD did not alter the Court’s interpretation of the phrase “a mixture or

substance containing a detectable amount” of certain drugs as used in 21 U.S.C. § 841(b). Neal,

516 U.S. at 287-89 (describing Court’s prior decision in Chapman v. United States, 500 U.S. 453

(1991)). Although the Court considered it “doubtful” the Commission intended to “displace” the

Court’s interpretation of Section 841(b), the Court nevertheless explained that if the commentary




DePierre v. United States, 564 U.S. 70, 87 (2011) (explaining that the Supreme Court has not
addressed what deference is owed to the Commission’s interpretations of a statute); LaBonte, 520
U.S. at 762 n.6 (“Inasmuch as we find the statute at issue here unambiguous, we need not decide
whether the [Sentencing] Commission is owed deference under Chevron.”).
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was intended to do so, the Commission’s action “cannot be squared” with the Court’s prior

determination. Id. at 293-94. “Once we have determined a statute’s meaning,” the Court

explained, “we adhere to our ruling under the doctrine of stare decisis, and we assess an agency’s

later interpretation of the statute against that settled law.” Id. at 295; see also LaBonte, 520 U.S.

at 753 (invalidating Guidelines amendment where “the Commission’s interpretation is inconsistent

with [the statute’s] plain language”).

       Neal compels the same result here. 516 U.S. at 293-95. The full Sixth Circuit has directly

construed, as a statutory matter, the phrase “extraordinary and compelling” as used in

§ 3582(c)(1)(A). McCall, 56 F.4th at 1065-66. The Sentencing Commission “does not have the

authority” to “override” that authoritative construction of the statute’s clear meaning. Neal, 516

U.S. at 290, 294.

       b. At any Rate, the Sixth Circuit’s Decision in McCall Is Correct. To justify a sentence

reduction under Section 3582(c)(1)(A)(i), a proffered reason must be both “extraordinary” and

“compelling.” As a matter of plain language, an intervening change in the law is neither.

Congress’s decision not to apply a statutory change in sentencing law retroactively, in particular,

is neither extraordinary nor compelling. Consistent with the “‘fundamental canon of statutory

construction’ that words generally should be ‘interpreted as taking their ordinary, contemporary,

common meaning . . . at the time Congress enacted the statute,’” Wisconsin Cent. Ltd. v. United

States, 138 S. Ct. 2067, 2074 (2018), the word “extraordinary” should be understood “to mean

‘most unusual,’ ‘far from common,’ and ‘having little or no precedent,’” McCall, 56 F.4th at 1055

(quoting Webster’s Third New International Dictionary of the English Language 807 (1971)

(Webster’s)). Far from being unusual, uncommon, or unprecedented, a defendant’s lawfully

imposed sentence simply reflects the law at the time he was sentenced. See id. at 1063 (“[T]here



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is nothing extraordinary about the ordinary operation of our legal system, which assumes new

statutes . . . have no retroactive effect.”).

        Here, the defendant invokes Congress’s decision not to extend the First Step Act’s

amendments to 21 U.S.C. § 841(b)’s recidivist enhancement to defendants like him as a change in

law warranting a sentence reduction. (Motion, DE 2085, Page I.D. #12042). In the First Step Act,

Congress amended § 841(b)’s recidivist enhancement in a way that would reduce the defendant’s

mandatory life sentence for his Conviction in Count One to a mandatory-minimum sentence of

either 15 years or 25 years imprisonment. (Id.; Judgment, DE 1428, Page I.D. #5838); § 401(a)(1)-

(2), Pub. L. 115-391. In Section 401(c) of the Act, however, Congress made the deliberate choice

not to make that amendment applicable to defendants who had been sentenced before the Act’s

enactment, specifying that the change would apply only “if a sentence for the offense has not been

imposed as of such date of enactment.” § 401(c), 132 Stat. 5221. In so doing, Congress adhered to

“the ordinary practice” in “federal sentencing” of “apply[ing] new penalties to defendants not yet

sentenced, while withholding that change from defendants already sentenced.” Dorsey, 567 U.S.

at 280; McCall, 56 F.4th at 1056 (“That new statutes . . . apply only to defendants not yet sentenced

is the expected outcome in our legal system . . . [a]nd what is expected cannot be extraordinary.”

(citations and internal quotation marks omitted)); cf. 1 U.S.C. § 109 (general nonretroactivity

provision).

        Given Congress’s deliberate choice not to make the First Step Act’s change to § 841(b)’s

recidivist enhancement applicable to defendants who had already been sentenced, “there is nothing

‘extraordinary’ about” the fact that the defendant’s sentence reflects the statutory penalty that

existed at the time he was sentenced. McCall, 56 F.4th at 1055-56; Thacker, 4 F.4th at 574. That

sentence “was not only permissible but statutorily required at the time.” United States v. Maumau,



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993 F.3d 821, 838 (10th Cir. 2021) (Tymkovich, C.J., concurring). And when Congress enacted

the First Step Act, it specifically declined to disturb the defendant’s mandatory life sentence for

his § 846 conviction, even as it made other (previous) statutory changes applicable to defendants

previously sentenced.

       In Section 404 of the same Act, for example, Congress expressly enacted a mechanism

allowing defendants convicted under certain drug statutes (those for which penalties had been

modified by certain provisions of the Fair Sentencing Act of 2010, Pub. L. No. 111-220, 124 Stat.

2372) to seek retroactive application of those statutory changes in their cases. Section 404

authorizes a sentencing court to “impose a reduced sentence as if [those provisions] of the Fair

Sentencing Act” had been in effect at the time of the defendant’s offense. § 404(b), 132 Stat. 5222.

But Congress simultaneously declined to disturb §§ 841 and 846 sentences that had already been

imposed notwithstanding the different penalties that Section 401 would require courts to apply at

future sentencings. As McCall Court aptly pointed out, the “same Congress that carefully

delineated between retroactive and nonretroactive criminal changes to criminal penalties” would

not “somehow mean to use [the compassionate release statute] to unscramble [its stated] approach”

to the nonretroactivity of changes in statutory law. 56 F.4th at 1056 (quoting United States v.

Jarvis, 999 F.3d 442, 444 (6th Cir. 2021)).

       A nonretroactive change to a statutory provision likewise cannot constitute a “compelling”

reason for a sentence reduction. When Congress enacted the Sentencing Reform Act of 1984,

“[c]ompelling” meant (and still means) “forcing, impelling, driving.” Id. at 1055 (quoting

Webster’s 463). Thus, for a reason to be “compelling” under Section 3582(c)(1)(A)(i), it must

provide a “forcing, impelling, [or] driving” reason to disturb the finality of a federal sentence. Id.

(internal quotation marks omitted). Even beyond the First Step Act’s explicit determination not to



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apply the amendment to § 841(b) retroactively, ordinary principles of nonretroactivity already

consider, and reject, the notion that changes in statutory law generally should be applied

retrospectively. Congress enacts new sentencing statutes against a background principle, codified

in 1 U.S.C. § 109, that a criminal statute does not change the penalties “incurred” under an older

criminal statute “unless the repealing Act . . . so expressly provide[s].” The “strong presumption

against statutory retroactivity” “is ‘deeply rooted in our jurisprudence’ and ‘embodies a legal

doctrine older than our Republic.’” Jenkins, 50 F.4th at 1198 (quoting Landgraf v. USI Film

Prods., 511 U.S. 244, 265 (1994)). To treat a nonretroactive change in the law as a “compelling”

reason to disturb a final sentence would thus undo the balance already struck by ordinary

nonretroactivity principles. Nothing about a nonretroactive change in the law forces, impels, or

drives such a nonsensical outcome.

       Any disparity between the defendant’s sentence and the sentence he would receive today

is the product of deliberate congressional design—namely, Congress’s decision not to make the

First Step Act’s changes to § 841(b)’s recidivist enhancement applicable to defendants who had

been sentenced prior to the Act’s paasage. As the Supreme Court has recognized, such “disparities,

reflecting a line-drawing effort, will exist whenever Congress enacts a new law changing sentences

(unless Congress intends re-opening sentencing proceedings concluded prior to a new law’s

effective date).” Dorsey, 567 U.S. at 280. And treating Congress’s express adherence to “ordinary

practice” in federal sentencing, id., “as simultaneously creating an extraordinary and compelling

reason for early release” would contravene various canons of construction, Andrews, 12 F.4th at

261.

       Accordingly, a nonretroactive change in the law cannot serve as an “extraordinary and

compelling” reason for a sentence reduction in isolation or as adding to a package of such



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“reasons.” 18 U.S.C. § 3582(c)(1)(A)(i). Whether considered alone or in combination with other

asserted factors, the possibility that a previously sentenced defendant might receive a lower

sentence if he were sentenced today is a “legally impermissible” consideration for purposes of

determining whether an extraordinary and compelling reason exists. Jenkins, 50 F.4th at 1202

(internal quotation marks omitted); see Jarvis, 999 F.3d at 444 (explaining that a prospective

change to sentencing law is a “legally impermissible ground” for finding an “extraordinary and

compelling reason,” even when it is “combined with” other considerations).

       c. Section 3582(c)(1)(A)(i)’s Context Further Confirms that the Term “Extraordinary and

Compelling” Cannot Encompass Intervening Changes in Law. As explained, supra at 18-23, an

intervening change in law is neither “extraordinary” or “compelling,” and by using that phrase,

Congress did place clear textual limits on the reasons the Commission could validly identify as

warranting a sentence reduction. “Statutory construction,” moreover, “is a holistic endeavor” and

a provision “is often clarified by the remainder of the statutory scheme.” United Sav. Ass’n of Tex.

v. Timbers of Inwood Forest Assocs., 484 U.S. 365, 371 (1988). Other features of the scheme

confirm that the phrase “extraordinary and compelling reasons” does not encompass changes in

law.

       Most notably, in the very next paragraph of § 3582(c), Congress expressly addressed the

retroactive application of some changes in law. In § 3582(c)(2), Congress authorized courts to

modify a term of imprisonment where a defendant was sentenced “based on a sentencing range

that has subsequently been lowered by the Sentencing Commission.” 18 U.S.C. § 3582(c)(2); see

28 U.S.C. § 994(u) (directing the Commission to determine when such modifications are

appropriate). There would have been no reason for “the same Congress, skeptical of sentence

modifications as a general rule,” to have “provide[d] for the retroactive application of specific



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changes in sentencing law in § 3582(c)(2)” had Section 3582(c)(1)(A)(i) “already covered all legal

developments, retroactive or not.” McCall, 56 F.4th at 1056. That Congress did not similarly

provide the Commission or district courts with authority to revisit sentences in light of statutory

amendments or changes in decisional law suggests that Congress did not intend for Section

3582(c)(1)(A) to reach such changes.

       Reducing sentences based on intervening changes in the law also would undermine

congressional design more generally because a motion brought pursuant to 28 U.S.C. § 2255 is the

“remedial vehicle” Congress “specifically designed for federal prisoners’ collateral attacks on their

sentences.” Jones v. Hendrix, 599 U.S. 465, 473 (2023); see United States v. West, 70 F.4th 341,

346 (6th Cir. 2023) (“Because § 2255 provides a specific, comprehensive statutory scheme for

post-conviction relief, any attempt to attack a prisoner’s sentence or conviction must abide by its

procedural strictures.”); Thacker, 4 F.4th at 574. (explaining that § 2255 provides the “principal

path” that Congress has “established for federal prisoners to challenge their sentences” after they

have become final). Treating a nonretroactive change in the law as an “extraordinary and

compelling” reason for a sentence reduction would allow defendants to “avoid the restrictions of

the post-conviction relief statute by resorting to a request for compassionate release instead.”

Crandall, 25 F.4th at 586. It “would wholly frustrate explicit congressional intent to hold that

[defendants] could evade” those restrictions “by the simple expedient of putting a different label

on their pleadings.” Preiser v. Rodriguez, 411 U.S. 475, 489-90 (1973). Congress surely “knew

of its specific statutory scheme authorizing post-conviction relief” both “when it [enacted Section

3582(c)(1)(A)] in 1984 and amended it in 2018,” and had “Congress intended the compassionate-

release statute to act as an exception to this post-conviction framework, it would have made that

intent specific.” McCall, 56 F.4th at 1057-58 (internal quotation marks omitted).



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       d. A Contrary Conclusion Would Undermine the Sentencing Reform Act. Recognizing

intervening changes in law as extraordinary or compelling reasons for a sentence reduction also

would undermine a primary purpose of the Sentencing Reform Act, in which § 3582(c)(1) was

enacted. Through the Act, Congress sought to eliminate the “‘unjustifi[ed]’ and ‘shameful’

consequences” of a sentencing regime that produced “great variation among sentences imposed by

different judges upon similarly situated offenders” and “uncertainty as to the time [an] offender

would spend in prison.” Mistretta, 488 U.S. at 366 (quoting S. Rep. No. 98-225, at 38, 65 (1983)

(Senate Report)); see also Neal, 516 U.S. at 290-91 (“The Commission was born of congressional

disenchantment with the vagaries of federal sentencing and of the parole system”). The practices

of federal courts and the Parole Commission left “each judge . . . to apply his own notions of the

purposes of sentencing,” resulting in an “astounding” and “inevitable disparity” in sentencing that

was “not justified by differences among offenses or offenders” and was “unfair both to offenders

and to the public.” Senate Report at 38, 41, 45. “A primary goal” of the Act was “the elimination

of unwarranted sentencing disparity.” Senate Report at 52. In “overhaul[ing] federal sentencing

practices” by “abandon[ing] indeterminate sentencing and parole,” Congress sought to “channel[

] judges’ discretion by establishing a framework to govern their consideration and imposition of

sentence.” Tapia, 564 U.S. at 325.

       Consistent with Congress’s goal of determinate sentencing, § 3582(c)(1)(A) was enacted

as a narrow “safety valve” for “unusual cases in which an eventual reduction in the length of a

term of imprisonment is justified by changed circumstances.” Senate Report at 55, 121. Congress

anticipated that such “justification[s] for reducing a term of imprisonment” would arise in a

“relatively small number” of cases, and specifically identified severe or terminal illness as the




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archetype of “extraordinary and compelling circumstances” that would justify reducing a sentence.

Id. at 55-56, 121.

          Subsection (b)(6), however, purports to allow a district court to reduce a defendant’s

sentence when, in a district court’s estimation, the defendant received “an unusually long sentence”

that, accounting for nonretroactive changes in law, now represents a “gross disparity” from the

sentence the court would likely impose today. U.S.S.G. § 1B1.13(b)(6). That authority is

incompatible with the Sentencing Reform Act’s overarching purpose and Congress’s specific

intent with respect to § 3582(c)(1)(A), and it effectively reproduces the indeterminate system the

Act sought to eliminate, in which judges applied their own varied “notions of the purposes of

sentencing.” Senate Report at 38. Individual judges inevitably will have divergent views

concerning the fairness of adhering to the ordinary practice of applying a change in law

prospectively, whether a sentence lawfully imposed under the prior regime is “unusually long,”

and whether Congress’s or the courts’ assessment not to apply a change in law retroactively

produces a “gross disparity,” and what a “gross disparity” looks like. It is doubtful the Sentencing

Reform Act “contained the[ ] seeds of its own destruction,” Jenkins, 50 F.4th at 1202, and there is

no basis to think that, notwithstanding the Act’s express purpose to eliminate parole in favor of

determinative sentencing, Congress nevertheless created such “a freewheeling opportunity for

resentencing based on prospective changes in sentencing policy or philosophy,” Crandall, 25 F.4th

at 586.

          The Sentencing Commission’s explanation for the amendment cites a single sentence from

the Senate Report to support its conclusion that Section 3582(c)(1)(A)(i) allows courts to reduce

“unusually long sentences.” See 88 Fed. Reg. at 28,258. In the relevant passage, the Senate

Judiciary Committee expressed its belief that the “unusual cases in which an eventual reduction in



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the length of a term of imprisonment” would be “justified by changed circumstances” might

include “cases of severe illness” or “cases in which other extraordinary and compelling

circumstances justify a reduction of an unusually long sentence.” Senate Report at 55. The

Commission takes that line—which is ambiguous at best—out of context and elevates that single

sentence above the Act’s plain text and overarching purpose. In context, the passage suggests only

that Congress anticipated that the sort of “changed circumstances” that might warrant a sentence

reduction would most often emerge during the duration of an “unusually long” period of

incarceration—during which a prisoner might become elderly or infirm, for example. Id. Indeed,

the passage makes clear that to justify even the reduction of an unusually long sentence Congress

understood § 3582(c)(1)(A) to require the identification of particular “extraordinary and

compelling circumstances.” Id. The passage does not suggest that § 3582(c)(1)(A) provides

authority to reduce any sentence a court subsequently comes to view, in hindsight, as “unusually

long.”

         The Commission also invokes the First Step Act of 2018’s stated intent to increase the use

of sentence reduction motions. See 88 Fed. Reg. at 28,256; § 603(b), 132 Stat. 5239. But nothing

about the First Step Act’s procedural amendment to § 3582(c)(1)(A) or Congress’s expectation

that the amendment would lead to greater use of the provision “suggests Congress intended to

change th[e] substantive status quo with a process-oriented amendment.” McCall, 56 F.4th at 1060

(emphasis added). Congress’s effort to allow defendants to file sentence-reduction motions

directly sought to remedy perceived deficiencies in the BOP’s preexisting procedures, which

prevented the BOP from bringing § 3582(c)(1)(A) motions on behalf of some defendants who




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satisfied longstanding criteria for relief. 6   Congress, however, did not amend the statutory

requirement that reasons for a sentence reduction be extraordinary and compelling. Tellingly, the

amendment explicitly conditioned a defendant’s filing on a requirement that he first “exhaust[ ]”

with BOP a request that BOP “bring a motion on the defendant’s behalf.”              18 U.S.C. §

3582(c)(1)(A). Congress could not have expected BOP to evaluate whether an intervening change

in law warranted a defendant’s early release from custody; indeed, BOP typically plays no role in

“determining the lawfulness of individual sentences,” “calculating guideline ranges,” or assessing

the possible disparity produced by a defendant’s sentence. See Jenkins, 50 F.4th at 1205-06. In

short, nothing about the First Step Act’s procedural amendment “indicates any intention on

Congress’s part” to “fundamentally change the nature of compassionate release.” 4/5/23 Tr. 64-66

(Vice Chair Murray, delivering joint statement); cf. Whitman v. Am. Trucking Ass’ns, 531 U.S.

457, 468 (2001) (“Congress . . . does not, one might say, hide elephants in mouseholes.”).

       e. Subsection (b)(6) Also Creates Separation of Powers Problems.               Finally, the

Commission’s interpretation of § 3582(c)(1)(A) as empowering district courts to apply

nonretroactive changes in law to particular defendants is in serious tension with basic separation-

of-powers principles. In upholding the Sentencing Commission’s constitutionality, the Supreme

Court observed that the Commission is not vested with “the legislative responsibility for

establishing minimum and maximum penalties for every crime.” Mistretta, 488 U.S. at 396.

“Congress generally cannot delegate its legislative power to another Branch,” id. at 372, and



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  See Sentencing Guidelines App. C, Amend. 799 (noting evidence showing “inefficiencies that
exist within the Bureau of Prisons’ administrative review of compassionate release applications,
which can delay or deny release, even in cases where the applicant appears to meet the criteria for
eligibility”); U.S. Dep’t of Justice, Office of the Inspector Gen., The Federal Bureau of Prisons’
Compassionate Release Program 53 (2013) (finding that the “inconsistent and ad hoc
implementation” of BOP’s “compassionate release program” has “likely resulted in potentially
eligible inmates not being considered for release”).
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“[w]hatever views may be entertained regarding severity of punishment, . . . these are peculiarly

questions of legislative policy,” Gore v. United States, 357 U.S. 386, 393 (1958). The Commission

does not pose a nondelegation or separation-of-powers concern, the Court held, precisely because

Congress delegated to the Commission “nonadjudicatory functions that do not trench upon the

prerogatives of another Branch.” Mistretta, 488 U.S. at 388. Subsection (b)(6) contravenes those

limits by purporting to empower courts to ignore Congress’s retroactivity determinations on a case-

by-case basis.

       The separation-of-powers concern is particularly apparent when one considers the

Commission’s directive regarding its own retroactivity determinations. Section 3582(c)(2) permits

a defendant “sentenced to a term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission” to move for a sentence reduction

“consistent with applicable policy statements issued by the Sentencing Commission,” and

Sentencing Guidelines § 1B1.10 identifies particular Guidelines amendments that the Commission

has elected to make retroactive. See U.S.S.G. § 1B1.10(a), (d). In Subsection (b)(6), however, the

Commission expressly excluded “an amendment to the Guidelines Manual that has not been made

retroactive” from qualifying as an extraordinary and compelling reason for a sentence reduction.

U.S.S.G. § 1B1.13(b)(6); see 88 Fed. Reg. at 28,259. The Commission accordingly precluded

courts from using compassionate release as an end-run around the Commission’s own

determinations concerning the retroactive application of its Guidelines amendments. But by

permitting other changes in law, including a statutory change that Congress explicitly declined to

make retroactive, to qualify, the Commission declined to afford the same respect to Congress’s

retroactivity determinations.     That counterintuitive result cannot be squared with the




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Commission’s statutory authority. See, e.g., LaBonte, 520 U.S. at 757 (the Commission “must

bow to the specific directives of Congress”).

       Indeed, the separation of powers concerns apply with particular force to the defendant’s

invocation of § 401 of the First Step Act as grounds for a sentence reduction. In the same statute

in which Congress amended § 3582(c)(1)(A) to permit defendants to directly file sentence-

reduction motions, Congress made the deliberate choice not to make § 401 applicable to a

defendant who was sentenced before the First Step Act’s enactment. 132 Stat. 5221. Congress

specified that the change would apply only “if a sentence for the offense has not been imposed as

of such date of enactment.” Id. Any disparity between the defendant’s sentence and the sentence

he would receive today thus is the product of deliberate congressional design, and there is no

reason to think that “the same Congress that specifically decided to make these sentencing

reductions non-retroactive in 2018 somehow mean[t] to use a general sentencing statute from 1984

to unscramble that approach.” Jarvis, 999 F.3d at 444; see Andrews, 12 F.4th at 261 (“[W]e will

not construe Congress’s nonretroactivity directive as simultaneously creating an extraordinary and

compelling reason for early release. Such an interpretation would sow conflict within the statute.”).

               3. The Defendant’s Counter-Arguments Are Unavailing.

       The defendant, for his part, disregards that Subsection (b)(6) conflicts with

§ 3582(c)(1(A)(i)’s plain text, context, and purpose and instead merely asserts that the Sentencing

Commission’s expanded interpretation of “extraordinary and compelling reasons” in

§ 3582(c)(1)(A)(i) has “resolved th[e] conflict” between federal courts of appeals regarding the

meaning of federal statutory language. (Motion, DE 2085, Page I.D. #12046). The defendant

relies on two Supreme Court decisions, Braxton, 500 U.S. at 348–49, and Batterton, 432 U.S. at

425, to support this contention. (Motion, DE 2085, Page I.D. #12046-47, n. 11). These cases, the



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defendant says, stand for the principle “that the Sentencing Commission may ‘eliminate circuit

conflicts over the meaning’ of matters that Congress delegated to the Commission.” Id. (quoting

Braxton, 500 U.S. at 348-49)). But the defendant fails to recognize that Braxton involved the

Commission’s elimination of a circuit conflict over the meaning of a Sentencing Guideline, 500

U.S. at 348-49, while Batterton simply reaffirms the longstanding view that a “reviewing court is

not free to set aside [an agency interpretation of a statute] simply because it would have interpreted

the statute in a different manner.” 432 U.S. at 425 (citing American Telephone & Telegraph Co.

v. United States, 299 U.S. 232, 235-237 (1936)).

       And importantly, neither case begins to explain why the Commission may permissibly

interpret a federal statute’s unambiguous language in a way that displaces federal appellate courts’

prior contrary interpretation of the very same language in the very same statute. Brand X Internet

Servs., 545 U.S. at 984 (“[A] precedent holding a statute to be unambiguous forecloses a contrary

agency construction.”). Indeed, Batterton confirms that such an action is impermissible. 432 U.S.

at 426, 428 (explaining that agency may not interpret a statute in a way that exceeds its statutory

authority).

       Accordingly, and notwithstanding the Commission’s amendments to § 1B1.13,

nonretroactive changes to federal sentencing law—specifically, the First Step Act’s nonretroactive

amendments to § 841(b)’s recidivist enhancements, § 401, 132 Stat 5220—“do not factor into the

extraordinary and compelling analysis.” McCall, 56 F.4th at 1066.

       B. Because Subsection (b)(6) Is Invalid, the Question of Whether Nonretroactive
          Changes in Law Have Produced a “Grossly Disparate” Sentence Is Immaterial.

       As explained in Section II.A, Subsection (b)(6) is invalid and is therefore inapplicable to

the defendant. Accordingly, the issue of whether the defendant’s mandatory life sentence is

“grossly disparate” to the sentence he would receive for the same offense today is immaterial.

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         The defendant claims that his mandatory life sentence on Count One is “grossly disparate”

to the sentence he believes he would receive for the same offense today. (Motion, DE 650, Page

ID# 7658, 7667-68). The defendant arrives at this conclusion by correctly noting that, in the

aftermath of the First Step Act’s non-retroactive changes to 21 U.S.C. § 841(b)’s recidivist

enhancement, the mandatory-minimum sentence for a defendant convicted of a 21 U.S.C. § 846

offense involving at least 5 kilograms or more of cocaine (with no qualifying drug predicates) is

now 10 years, as opposed to life. (Id. at Page ID# 7667-7668); § 401(a)(2), 132 Stat. 5220. The

defendant then goes on to explain that, given the Act’s changes to the meaning of the term “serious

drug felony,” § 401(a)(1), 132 Stat. 5220, if sentenced today, neither of his prior drug felonies

would have counted as “serious drug felony” convictions, meaning that he would be subject to a

mandatory-minimum sentence of only 10 years. (Motion, DE 650, Page ID# 7658, 7667-68);

§ 401(a)(2), 132 Stat. 5220.

         If the Court finds Subsection (b)(6) abrogates the Sixth Circuit’s en banc decision in

McCall, it should take into consideration the defendant must serve a consecutive sentence of 60

months on Count Four before release.

         C. The Remaining Reasons Offered by the Defendant Are Not Extraordinary and
            Compelling.

         The defendant also argues that he can establish extraordinary and compelling reasons for

relief under U.S.S.G. § 1B1.13’s catch-all provision for “Other Reasons.” 7 (Motion, DE 650, Page

I.D. #7668). Specifically, the defendant claims that his “superlative” rehabilitation, the lesser



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    Section 1B1.13(b)(5) of the Sentencing Guidelines provides:

         Other Reasons.—The defendant presents any other circumstance or combination of
         circumstances that, when considered by themselves or together with any of the
         reasons described in paragraphs (1) through (4), are similar in gravity to those
         described in paragraphs (1) through (4).
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sentences of his co-defendants, and changes in DOJ charging policy “amount to extraordinary and

compelling ‘other reasons’ to reduce his life sentence.” (Id. at Page I.D. #7668-73). This argument

is entirely without merit.

       First, consider the lesser sentences of the defendant’s co-conspirators. (Id. at #7671). As

the Sixth Circuit has explained, sentencing disparities between co-defendants is a fact that is

necessarily known at sentencing. Hunter, 12 F.4th at 569-70 (6th Cir. 2021).                  Because

§ 3582(c)(1)’s text and structure show that the statute focuses on “post-sentencing factual

developments,” facts—like sentencing disparities—that “existed at sentencing cannot later be

construed as ‘extraordinary and compelling reasons’ to reduce a final sentence.” Id. at 570. As

previously noted, the Sentencing Commission’s amendments to § 1B1.13—including

§ 1B1.13(e)—cannot abrogate the Sixth Circuit’s interpretation of § 3582(c)(1)(A). Brand X

Internet Servs., 545 U.S. at 984 (2005). Moreover, as a matter of logic, a fact known at sentencing

is not of “similar gravity” to the reasons for early release described in § 1B1.13(b)(1-4).

       Next, the defendant invokes DOJ charging policy—specifically, the Garland memo.

(Motion, DE 650, Page ID# 7671-73). The defendant argues that the use of § 851 enhancement in

this case represented a trial tax, and his life sentence lacks any legitimate penological justification

in spite of his two prior convictions for drug trafficking offenses. (Id. at PageID# 7671). Can an

internal DOJ guidance documents for prosecutors contribute to the extraordinary and compelling

reason analysis? The memo itself provides the answer, as it includes language stating that the

policy is “not intended to create a substantive or procedural right or benefit, enforceable at law,

and may not be relied upon by a party to litigation with the United States.” (See, e.g., Motion, DE

650-6, Page ID# 7703 n.4 (citing United States v. Caceres, 440 U.S. 741 (1979)). And moreover,

a finding that DOJ policy changes could contribute to the extraordinary and compelling analysis



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for a sentence reduction would all but destroy the principle of finality that undergirds federal

criminal law.     McCall, 56 F.4th at 1055.      Indeed, under the defendant’s interpretation of

§ 3582(c)(1)(A), no sentence would ever be final since an internal DOJ policy change could, when

combined with the defendant’s rehabilitation, amount to an extraordinary and compelling reason

for a sentence reduction. (Motion, DE 650, Page ID# 7671-73). This atextual and illogical

interpretation of § 3582(c)(1)(A) cannot be the law.

          That leaves the defendant’s rehabilitation. (Id. at Page I.D. #12054). The United States

has no reason to doubt the defendant’s “superlative” rehabilitation over the past 14.8 years, and it

commends him for it. However, because Congress has mandated that the “[r]rehabilitation of the

defendant alone shall not be considered an extraordinary and compelling reason” for release, 28

U.S.C. § 994(t), the defendant’s commendable rehabilitation does not amount to an extraordinary

and compelling reason for a sentence reduction.

          D. Conclusion

          In denying the defendant’s previous motion for compassionate release, the Court quoted

the Sixth Circuit’s opinion in McCall: “Nonretroactive legal developments do not factor into the

extraordinary and compelling analysis. Full stop.” McCall, 56 F.4th 1048, 1066 (6th Cir. 2022).

(Order, DE 645, Page I.D.# 7569). Because the Sentencing Commission’s contrary subsequent

interpretation of the meaning of “extraordinary and compelling reasons” does nothing to change

this result, the defendant cannot establish extraordinary and compelling reasons for release. The

defendant’s motion should therefore be denied.

   III.      Danger to the Safety of Any Other Person or to the Community.

          A defendant may obtain early release under 18 U.S.C. § 3582(c)(1)(A), if the Court

determines that he “is not a danger to the safety of any other person or to the community, as



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provided in 18 U.S.C. § 3142(g).” U.S.S.G. § 1B1.13(a)(2). Here, the defendant may well remain

a danger to the community, if his sentence is reduced to time served. The nature and circumstances

of the defendant’s offenses—a large-scale drug conspiracy, maintaining a drug premises for

maintaining a drug premises to manufacture controlled substances, and possession of firearms in

furtherance of drug trafficking—are serious and dangerous, and the defendant’s criminal history

is significant, as evidenced by his 8 criminal history points and his status as a Career Offender.

(PSR at ¶¶ 11-26, 37, 47, 48). The defendant’s PSR also indicates that he previously violated

conditions of probation, (id. at ¶¶ 42, 44, 47), which does not bode well for his compliance with

conditions of supervised release.

         Patterson would pose a danger to public safety if released. Patterson has been dealing

cocaine since at least 1994 based on his conviction for possession of cocaine for resale. (PSR, ¶

42). Even after his conviction for possession of cocaine for resale, Patterson continued to sell

cocaine while he was on probation for the charge. (PSR, ¶ 44). His drug dealing only seems to

have been interrupted by his periods of incarceration.

         In the course of this cocaine distribution conspiracy, Patterson possessed weapons even

though he was a prohibited possessor by virtue of his prior felony convictions. (PSR, ¶ 23).

Patterson was subsequently convicted of possession of a firearm in furtherance of drug trafficking

and felon in possession of a firearm based on the severed Counts Four and Five. (Doc. No. 540).

   IV.      The Section 3553(a) Factors Independently Preclude the Defendant’s Requested
            Relief.

         If the Court determines that the defendant has established extraordinary and compelling

reasons for early release, the United States respectfully submits that a reduction to time served—

or, by the defendant’s own calculation, about 14.8 years, (Motion, DE 650, Page I.D. #7677), is

not warranted under the 18 U.S.C. § 3553(a) factors. The defendant’s offense conduct—namely,

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his involvement in a large-scale cocaine conspiracy—was, by any measure, serious and dangerous,

and his criminal history is significant. (PSR at ¶¶ 37, 42, 44, 47-48).

       When Patterson was charged in this case, he was under two criminal justice sentences for

possession of cocaine for resale and possession with intent to sell cocaine under .5 grams. (PSR,

¶¶ 42, 44, 47). Periods of incarceration following the revocation of his probation did not deter

Patterson from committing new crimes by possessing and selling cocaine. (PSR, ¶¶ 42, 44).

Patterson was thirty-six when sentenced in this case. (PSR, p. 2). He committed his first criminal

offense at age eighteen. (PSR, ¶ 41).

       Patterson was an organizer and leader in the cocaine trafficking organization in this case.

(PSR, ¶ 25). Patterson directed couriers to transport drugs and drug proceeds to and from California

and Tennessee and purchase supplies for the conspiracy. (Id.) He paid these couriers in cash and

quantities of cocaine. (Id.) Patterson purchased and controlled the vehicles that were used to

transport the drugs and drug proceeds. (Id.) Patterson was conservatively responsible for 150

kilograms of cocaine during the conspiracy. (Id.) He continued to conspire to distribute cocaine

even after he was present when law enforcement executed a search warrant on a co-conspirator’s

residence. (PSR, ¶ 22).

       Accordingly, if the Court decides to grant the defendant some form of relief, the United

States submits that any consideration of a reduced sentence should be guided by the serious nature

of the defendant’s offense, his significant criminal history, and the fact that the non-retroactive

changes in law upon which the defendant relies have nothing to do with the defendant’s 60-month

consecutive sentence for possession of a firearm in furtherance of drug trafficking on Count Four.




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       In sum, even if the Court finds that the defendant has established extraordinary and

compelling reasons for a sentence reduction, a reduction to a time-served sentence is not warranted

under the 18 U.S.C. § 3553(a) factors.



                                            CONCLUSION

       For the aforementioned reasons, the United States respectfully requests that the Court deny

the defendant’s motion for compassionate release.

                                                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and exact copy of the foregoing document has been

served on the defendant’s counsel through this Court’s CM/ECF system.



                                             /s/ Monica R. Morrison
                                             MONICA R. MORRISON
                                             Assistant United States Attorney




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